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                                      UNITED STATES DISTRICT COURT

                                            DISTRICT OF OREGON




        QUINTIN J. ANDREWS, SR.,                                                         CV. CV 02 1110-AS

                                              Plaintiff,

                  v.                                                 ANSWER OF DEFENDANT NW
                                                                     NATURAL
        NW NATURAL and OFFICE AND
        PROFESSIONAL EMPLOYEES
        INTERNATIONAL UNION and OFFICE AND
        PROFESSIONAL EMPLOYEES
        INTERNATIONAL UNION LOCAL 11,

                                           Defendants.



                 Defendant NW Natural for answer to plaintiff’s complaints state as follows:

                                                            1.

                 Defendant admits paragraphs 4, 5, 6, and 8 of the complaint.




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                                                           2.

                 Answering paragraph 1, defendant admits that plaintiff has accurately described the

      nature of the action he brings but denies the implication that plaintiff has a claim for relief.

                                                           3.

                 Answering paragraph 2, defendant admits that this court has jurisdiction of plaintiff’s

      claims and that venue is proper but denies the implication that plaintiff has a claim for relief.

                                                           4.

                 Answering paragraph 3, defendant admits that plaintiff is a former employee. Defendant

      is without sufficient knowledge as to whether plaintiff continues in membership with defendant

      unions and for that reason denies the remaining allegations of paragraph 3.

                                                           5.

                 Answering paragraph 7, defendant states that on or about December 21, 2001 it

      terminated plaintiff’s employment. Defendant denies that the termination was without cause or

      just cause and it states further that defendant learned through independent sources that plaintiff

      was a registered sex offender with a history of violent criminal behavior, and that he withheld

      that information from defendant at the time of his application, and that he affirmatively

      misrepresented his background to defendant.

                                                           6.

                 Answering paragraph 9, defendant states that it is without sufficient knowledge to admit

      or deny the date on which plaintiff became aware that defendant unions would not request

      arbitration of his grievance and for that reason denies paragraph 9.

                                                           7.

                 Defendant denies the remaining allegations of plaintiff’s complaint except as expressly

      admitted above.




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                                         FIRST AFFIRMATIVE DEFENSE

                                                             8.

                 On information and belief, defendant asserts that plaintiff knew or should have known of

      the union defendants’ decision not to process his grievance to arbitration prior to February 14,

      2002 and that his claims are therefore untimely.

                                       SECOND AFFIRMATIVE DEFENSE

                                                             9.

                 Even if defendant did not have cause or just cause to terminate plaintiff’s employment, it

      discovered facts sufficient to place it on notice that plaintiff had a record of violent criminal acts,

      particularly towards women, and that plaintiff represented a risk to the general public so that

      plaintiff would not have been hired had defendant been aware of that information at the time he

      was considered for employment.

                                        THIRD AFFIRMATIVE DEEFNSE

                                                            10.

                 Plaintiff’s failure to inform defendant of his violent criminal history and withholding that

      information from defendant during the application process, constitutes a prior material breach of

      any agreement.

                                       FOURTH AFFIRMATIVE DEFENSE

                                                            11.

                 Defendant unions did not breach their duty of fair representation of plaintiff and plaintiff

      is thereby barred from any relief for breach or alleged breach of the bargaining agreement.

                                         FIFTH AFFIRMATIVE DEFENSE

                                                            12.

                 Plaintiff has failed to state a claim upon which relief can be granted.




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                                         SIXTH AFFIRMATIVE DEFENSE

                                                            13.

                 Plaintiff has failed to mitigate his damages if any.

                                       SEVENTH AFFIRMATIVE DEFENSE

                                                            14.

                 The injuries and damages, if any, claimed by plaintiff were proximately caused or

      contributed to by the fault, actions, and omissions of plaintiff.

                                        EIGHTH AFFIRMATIVE DEFENSE

                                                            15.

                 The result of the issue resolution grievance procedure is final and binding upon plaintiff.

                                        NINTH AFFIRMATIVE DEFENSE

                                                            16.

                 Because there is no violation of any duty to fairly represent plaintiff, plaintiff’s exclusive

      remedy is through the grievance and arbitration procedure of the applicable bargaining

      agreement, which is the exclusive remedy for the wrongs alleged.

                 WHEREFORE, having fully answered plaintiff’s complaint, defendant prays for

      judgment in its favor dismissing plaintiff’s claims with prejudice and granting defendant its costs

      and disbursements herein.


                 DATED this 17th day of September, 2002.

                                                            BARRAN LIEBMAN LLP



                                                            By /s/Paula A. Barran
                                                               Paula A. Barran, OSB No. 80397
                                                               Richard C. Hunt, OSB No. 68077
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                                      CERTIFICATE OF SERVICE
                 I hereby certify that on the 17th day of September, 2002, I served the foregoing

      ANSWER on the following parties at the following addresses:

      Kevin N. Keaney (via e-mail)
      Attorney at La w
      825 NE Multnomah, Suite 960
      Portland, Oregon 97232
             Attorney for Plaintiff

      Gene B. Mechanic (via First Class Mail)
      Goldberg, Mechanic, Stuart & Gibson LLP
      621 S.W. Morrison, Suite 1450
      Portland, Oregon 97205
             Attorney for Defendants Office and Professional Employees International Union and
             Office and Professional Employees International Union Local 11


      By causing the same to be delivered as indicated above to them a true and correct copy thereof.


                                           ________/s/Paula A. Barran______________________
                                                        Paula A. Barran




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